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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

” Case No. 21-cr-3 (RCL)

JACOB ANTHONY CHANSLEY,

Defendani.

 

ORDER
On March 8, 2021, the Court issued an Order [26] denying defendant Jacob Anthony
Chansley’s motion [12] for pre-trial release. In its Memorandum Opinion [25] setting forth the
reasons for ruling as such, the Court cites two video Exhibits referenced in the government’s sur-
reply [23]. Those Exhibits were provided to defendant and the Court but were not made available
to the public. Accordingly, the Court ordered [27] the government to show cause by today, March
15, 2021, why those videos should not be made public. The government responded [29], indicating
that it does not oppose the videos being made public. Because videos cannot be uploaded to the
public docket, the Court hereby directs the Clerk of Court to post both video Exhibits on the

Court’s website in a location accessible by the public.

Itis SO ORDERED.

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Date: March {5.2021 a, C.- Sorta

Hon. Royce C. Lamberth
United States District Judge
